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                    IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                   )         4:11CR3087
                                            )
                    Plaintiff,              )
                                            )
      vs.                                   )         MEMORANDUM
                                            )         AND ORDER
GUY E. ALLEN,                               )
                                            )
                    Defendant.              )

      Since the defendant is not entitled to free copies,

      IT IS ORDERED that the defendant’s motion (filing 292) is denied. The Clerk
of Court shall provide a copy of this order and the defendant’s letter to counsel for the
government, to counsel for the defendant, and to the defendant at defendant’s last
known address.

      Dated July 15, 2013.

                                         BY THE COURT:

                                         Richard G. Kopf
                                         Senior United States District Judge
